         Case 23-17127                    Doc 8          Filed 12/24/23 Entered 12/24/23 23:11:29                                                  Desc Imaged
                                                         Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor
               Andrell International, LLC                                                    EIN:   86−3422859
               Name

United States Bankruptcy Court     Northern District of Illinois                              Date case filed for chapter:         7    12/21/23

Case number:23−17127
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                          10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                     Andrell International, LLC

2. All other names used in the dba eVitamins, fka Pomeroy Markets Acquisition Company, LLC
   last 8 years
3. Address                                6833 Auburn Rd.
                                          Utica, MI 48315

4. Debtor's attorney                      Ben L Schneider                                                      Contact phone 847−933−0300
                                          Schneider & Stone
    Name and address                      8424 Skokie Blvd.                                                    Email: ben@windycitylawgroup.com
                                          Suite 200
                                          Skokie, IL 60077

5. Bankruptcy trustee                     David P Leibowitz ESQ                                                Contact phone 312−662−5750
                                          Law Offices of David P Leibowitz LLC
    Name and address                      3478 N. Broadway − Unit 234                                          Email: dleibowitz@lodpl.com
                                          Chicago, IL 60657−6968

6. Bankruptcy clerk's office               Eastern Division                                                    Hours open:
                                           219 S Dearborn                                                      8:30 a.m. until 4:30 p.m. except Saturdays,
    Documents in this case may be          7th Floor                                                           Sundays and legal holidays.
    filed at this address. You may         Chicago, IL 60604
    inspect all records filed in this case
    at this office or online at                                                                                Contact phone 1−866−222−8029
    https://pacer.uscourts.gov.
                                                                                                               Date: 12/22/23

7. Meeting of creditors                                                                                     Location:
    The debtor's representative must      January 17, 2024 at 01:00 PM                                      Zoom video meeting. Go to
    attend the meeting to be                                                                                Zoom.us/join, Enter Meeting ID 839 802
    questioned under oath. Creditors                                                                        6639, and Passcode 8540408143, OR call
    may attend, but are not required to   The meeting may be continued or adjourned to a later date.
                                          If so, the date will be on the court docket.                      1−872−201−2451
    do so.
                                                                                                            For additional meeting information, go to
                                                                                                            www.justice.gov/ust/moc .

8. Proof of claim                         No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of         If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice     that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                          any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                   page 1
            Case 23-17127                Doc 8         Filed 12/24/23 Entered 12/24/23 23:11:29                                     Desc Imaged
                                                       Certificate of Notice Page 2 of 4
                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 23-17127-DLT
Andrell International, LLC                                                                                             Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Dec 22, 2023                                               Form ID: 309C                                                             Total Noticed: 62
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 24, 2023:
Recip ID                   Recipient Name and Address
db                     +   Andrell International, LLC, 6833 Auburn Rd., Utica, MI 48317-5213
30557272               +   ANDA, Inc., PO Box 930219, Atlanta, GA 31193-0219
30557271               +   Amy Myers, c/o Kelly Kamerer 8816 Cullen Lane, Austin, TX 78748-1706
30557275               +   Barleans, 3660 Slater Road, Ferndale, WA 98248-9518
30557276               +   Begin, 530 Divisadero St., San Francisco, CA 94117-2213
30557277               +   Bell Lifestyle Products, Inc., 07090 68th Street, South Haven, MI 49090-8119
30557278               +   Blue Bonnet, 12915 Dary Ashford, Sugar Land, TX 77478-3101
30557279               +   Brandon R. Freud, Chuhak & Tecson, P.C., 120 S. Riverside Plaza, Suite 1700, Chicago, IL 60606-3911
30557280               +   Broadmoore Labs, Inc., 4564 Telephone Road, Ste. 804, Ventura, CA 93003-5661
30557282               +   Carlson Labs, 600 W. University Drive, Arlington Heights, IL 60004-1985
30557284               +   Codeage, LLC, 5628 Washington Blvd, Los Angeles, CA 90016-1915
30557285               +   Continental Vitamin Co., 4510 S. Boyle Ave, Los Angeles, CA 90058-2418
30557287               +   DHL Global Mail, 2700 S. Commerce Parkway #300, Weston, FL 33331-3630
30557288               +   Esteem Natural Secrets LLC, 7609 Steilacoom Blvd SW, #200, Lakewood, WA 98498-6199
30557289               +   FedEx Cross Border Logistics, Inc., 145 Lt. George W Lee Avenue, Memphis, TN 38103-4025
30557290               +   FedEx Ground, PO Box 371461, Pittsburgh, PA 15250-7461
30557291               +   First Bank Card - WIntrust, PO Box 714, Rosemont, IL 60018-0714
30557292                   GAIA Herbs, 184?Butler?Farm?Rd, Mills River, NC 28759
30557293               +   GFL Environmental, 501 Collier Road, Pontiac, MI 48326
30557294               +   HFD, 1893 Northwood Drive, Troy, MI 48084-5525
30557295               +   Hinsdale Bank and Trust Co, N.A., Loan Department, 9801 W. Higgins Rd., Suite 400, Rosemont, IL 60018-4704
30557296               +   Irwin Nationals, Dept LA 22610, Pasadena, CA 91185-0001
30557298               +   Kount, PO Box 71221, Charlotte, NC 28272-1221
30557300               +   Life Extension, 3600 West Commercial Blvd, Fort Lauderdale, FL 33309-3324
30557301               +   Lisa Pomeroy, 6250 S. Grant St., Burr RIdge, IL 60527-5135
30557302               +   Maple Lane Pest Control, 5955 Chicago Rd, Warren, MI 48092-1606
30557303                   Merchandise, Inc., 5929 Ohio 128, Miamitown, OH 45041
30557304               +   Michael's Naturopathic Programs, 6003 Randolph Boulevard, San Antonio, TX 78233-5719
30557310               +   NOW Foods, 244 Knollwood Drive, Bloomingdale, IL 60108-2257
30557305               +   National Vitamin Co, Inc., 1145 West Gila Bend Hwy, Casa Grande, AZ 85122-4308
30557306               +   Natures Plus, PO Box 8951, Melville, NY 11747-8951
30557307               +   Nestle Health Science, PO Box 843398, Dallas, TX 75284-3398
30557308               +   Neurohacker Collective, LLC, 5938 Priestly Drive, Suite 200, Carlsbad, CA 92008-8847
30557311                   Nutraceutical Corp., 580 W. 300 N 2C North Dock, Ogden, UT 84412
30557312               +   Only Natural, 3580 Oceanside Road, Unit 5, Oceanside, NY 11572-5825
30557313               +   Palko Services, 4991 W. US Hwy 20, Michigan City, IN 46360-6638
30557315               +   Peter Mangiapane, 52633 Ihla, Shelby Township, MI 48316-3065
30557317               +   Pure Essence Labs, PO Box 95397, Las Vegas, NV 89193-5397
30557318               +   Reliable Delivery, 21450 Trolley Industrial Dr., Taylor, MI 48180-1824
30557319               +   Select Nutrition Distributors, PO Box 419719, Boston, MA 02241-9719
30557320               +   Seth Pomeroy, 6250 S. Grant St., Burr RIdge, IL 60527-5135
30557322               +   Super Natural Distributors, W229 N 1680 Westwood Drive Suite C, Waukesha, WI 53186-1150
30557323               +   The Synergy Company, 2279 Resource Blvd, Moab, UT 84532-3406
30557324               +   Theralogix, 401 East Jefferson Street Suite #204, Rockville, MD 20850-2617
30557325               +   Tom Wick, 16253 Verilyn Circle, Naples, FL 34110-2897
            Case 23-17127                Doc 8        Filed 12/24/23 Entered 12/24/23 23:11:29                                     Desc Imaged
                                                      Certificate of Notice Page 3 of 4
District/off: 0752-1                                                  User: admin                                                                Page 2 of 3
Date Rcvd: Dec 22, 2023                                               Form ID: 309C                                                            Total Noticed: 62
30557327               +   Tora, LLC, PO Box 183503, Utica, MI 48318-3503
30557328               +   UPS, 28013 Network Place, Chicago, IL 60673-1280
30557329               +   UPS Mail Innovation, 28013 Network Place, Chicago, IL 60673-1280
30557330               +   Vitanica, PO Box 1299, Tualatin, OR 97062-1299
30557331               +   Viva 5 Group, LLC, 239 2nd Av South Ste 200, Saint Petersburg, FL 33701-4333
30557332               +   Wellbeam, 1520 Mariposa Ave, Palo Alto, CA 94306-1024

TOTAL: 51

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: ben@windycitylawgroup.com
                                                                                        Dec 22 2023 22:15:00      Ben L Schneider, Schneider & Stone, 8424 Skokie
                                                                                                                  Blvd., Suite 200, Skokie, IL 60077
tr                         EDI: FDPLEIBOWITZ.COM
                                                                                        Dec 23 2023 03:05:00      David P Leibowitz, ESQ, Law Offices of David P
                                                                                                                  Leibowitz LLC, 3478 N. Broadway - Unit 234,
                                                                                                                  Chicago, IL 60657-6968
30557273                   Email/Text: Lhixon@apacpaper.com
                                                                                        Dec 22 2023 22:15:00      APAC Paper, 4000 Enterprise Dr., Allen Park, MI
                                                                                                                  48101
30557270               + EDI: SYNC
                                                                                        Dec 23 2023 03:05:00      American Eagle, 77 Hot Metal Street, Pittsburgh,
                                                                                                                  PA 15203-2381
30557274               + EDI: TSYS2
                                                                                        Dec 23 2023 03:05:00      Barclays Credit Card, PO Box 8801, Wilmington,
                                                                                                                  DE 19899-8801
30557281               + EDI: CAPITALONE.COM
                                                                                        Dec 23 2023 03:05:00      Capital One, PO Box 71087, Charlotte, NC
                                                                                                                  28272-1087
30557283               + EDI: CITICORP
                                                                                        Dec 23 2023 03:05:00      Citi Bank Mastercard, PO Box 6500, Sioux Falls,
                                                                                                                  SD 57117-6500
30557286               + EDI: CITICORP
                                                                                        Dec 23 2023 03:05:00      Costco Visa, PO Box 790046, Saint Louis, MO
                                                                                                                  63179-0046
30557297                   Email/Text: jonathanl@jarrow.com
                                                                                        Dec 22 2023 22:15:00      Jarrow Formulas, Inc., 1824 SO. Robertson Blvd,
                                                                                                                  Los Angeles, CA 90035
30557309               + Email/Text: accountsreceivable@new-chapter.com
                                                                                        Dec 22 2023 22:17:00      New Chapter, Inc., PO Box 6055, Brattleboro, VT
                                                                                                                  05302-6055
30557316               + Email/Text: dllawbankruptcy@exchange.principal.com
                                                                                        Dec 22 2023 22:16:00      Principal Life Insurance Company, 711 High St.,
                                                                                                                  Des Moines, IA 50392-0001

TOTAL: 11


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
30557314                       Peter Maggiano
30557321         *+            Seth Pomeroy, 6250 S. Grant St., Burr Ridge, IL 60527-5135
30557299         ##+           Libido Edge Labs, PO Box 253, Newark, OH 43058-0253
30557326         ##+           Tora LLC, 6833 Auburn Road, Utica, MI 48317-5213

TOTAL: 1 Undeliverable, 1 Duplicate, 2 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.
           Case 23-17127              Doc 8        Filed 12/24/23 Entered 12/24/23 23:11:29                               Desc Imaged
                                                   Certificate of Notice Page 4 of 4
District/off: 0752-1                                             User: admin                                                            Page 3 of 3
Date Rcvd: Dec 22, 2023                                          Form ID: 309C                                                        Total Noticed: 62

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 24, 2023                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 22, 2023 at the address(es) listed
below:
Name                            Email Address
Ben L Schneider
                                on behalf of Debtor 1 Andrell International LLC ben@windycitylawgroup.com,
                                mstone@windycitylawgroup.com;ebrandes@windycitylawgroup.com;schneider.benb120265@notify.bestcase.com

David P Leibowitz, ESQ
                                dleibowitz@lodpl.com il64@ecfcbis.com;dl@trustesolutions.com;dl@trustesolutions.net;ECF@lodpl.com

Patrick S Layng
                                USTPRegion11.ES.ECF@usdoj.gov


TOTAL: 3
